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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

BRUCE E. KATZ, M.D., P.C., D/B/A JUVA | Civil Case Number: 1:19-cv-6303
SKIN AND LASER CENTER, individually |
and on behalf of all others similarly situated, —

Plaintiff, WAIVER OF SERVICE

-against-
LICEDOCTORS LLC,

Defendant.

 

To: Yitzchak Zelman, Esgq., yzelman@marcuszelman.com, Marcus & Zelman, Counsel for Plaintiff

I have received your request to waive service of a summons in this action along with a copy of the filed
complaint. I, or the entity I represent, agree to save the expense of serving a summons and complaint in
this case. I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit,
the court’s jurisdiction, and the venue of the action, but that I waive any objections to the absence of a
summons or of service.

I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12
within 60 days from July 12, 2019, the date when this request was sent. If I fail to do so, a default judgment
may be entered against me or the entity I represen

 
 
   

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Duty to Avoid Unnecessary Expenses of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses
of serving a summons and complaint. A defendant who is located in the United States and who fails to return a signed
waiver of service requested by a plaintiff located in the United States will be required to pay the expenses of service,
unless the defendant shows good cause for the failure. “Good cause” does not include a belief that the lawsuit is
groundless, or that it has been brought in an improper venue, or that the court has no jurisdiction over this matter or
over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot
object to the absence of a summons or of service.

 
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If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under
Rule 12 on the plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed
more time to respond than if a summons had been served.

 
